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1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF ILLINOIS
                                                                   EASTERN DIVISION


                   In re:                                                                          §
                                                                                                   §
                   Myee D Bennett                                                                  §           Case No. 16-03717
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    02/08/2016 . The undersigned trustee was appointed on 02/08/2016 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $             120,168.75

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                        78,718.17
                                                     Bank service fees                                                                   0.00
                                                     Other payments to creditors                                                         0.00
                                                     Non-estate funds paid to 3rd Parties                                                0.00
                                                     Exemptions paid to the debtor                                                  15,000.00
                                                     Other payments to the debtor                                                        0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $               26,450.58

                    The remaining funds are available for distribution.
             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 07/29/2016 and the
      deadline for filing governmental claims was 08/08/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 8,508.44 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 8,508.44 , for a total compensation of $ 8,508.44 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 22.76 , for total expenses of $ 22.76 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 03/15/2017                                     By:/s/STEVEN R. RADTKE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                           FORM 1
                                                                       INDIVIDUALDocument     Page
                                                                                  ESTATE PROPERTY   3 of 12AND REPORT
                                                                                                  RECORD
                                                                                                  ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              16-03717                         TAB            Judge:        Timothy A. Barnes                            Trustee Name:                      STEVEN R. RADTKE
Case Name:            Myee D Bennett                                                                                             Date Filed (f) or Converted (c):   02/08/2016 (f)
                                                                                                                                 341(a) Meeting Date:               03/07/2016
For Period Ending:    03/15/2017                                                                                                 Claims Bar Date:                   07/29/2016


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 510 Palace Ct.                                                                      69,000.00                   69,000.00                                                120,168.75                         FA
     Schaumburg Il 60194-0000 Cook
  2. 2012 Nissan Sentra Carmax Auto Finance Secured Lien                                  8,775.00                    8,775.00                                                       0.00                        FA
     $20,320
  3. Household Goods & Furniture                                                             800.00                       0.00                                                       0.00                        FA
  4. Tv & Electronics                                                                        500.00                       0.00                                                       0.00                        FA
  5. Normal Apparel                                                                          300.00                       0.00                                                       0.00                        FA
  6. American Chartered                                                                      150.00                       0.00                                                       0.00                        FA
  7. 2015 Federal Income Tax Refund of $3,318 less tax                                    3,129.00                        0.00                                                       0.00                        FA
     preparatio (u)
  8. 2015 State Income Tax Refund -$403; includes earned                                     403.00                     84.00                                                        0.00                        FA
     income c (u)
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $83,057.00                  $77,859.00                                               $120,168.75                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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3/2017 Prepare TFR
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2/2017 Received proceeds of sale begin preparation of fee application
                                                                                                                                          Exhibit A
1/2017 Obtained Court approval to sell Debtor's home

10/2016 Broker employed

6/2016 Interviewing brokers

4/2016 Possible equity in residential real estate located at 510 Palace Court, Schaumburg, IL




Initial Projected Date of Final Report (TFR): 06/30/2018           Current Projected Date of Final Report (TFR): 06/30/2018




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                                                                       ESTATE CASHDocument
                                                                                   RECEIPTS AND Page 5 of 12 RECORD
                                                                                                DISBURSEMENTS
           Case No: 16-03717                                                                                                    Trustee Name: STEVEN R. RADTKE                                          Exhibit B
      Case Name: Myee D Bennett                                                                                                   Bank Name: Associated Bank
                                                                                                                       Account Number/CD#: XXXXXX6313
                                                                                                                                                 Checking
  Taxpayer ID No: XX-XXX5189                                                                                    Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 03/15/2017                                                                                   Separate Bond (if applicable):


       1                2                               3                                                4                                                       5                  6                     7

Transaction Date    Check or                 Paid To / Received From                         Description of Transaction                  Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                Code                                                         ($)
   02/07/17                        First American Title Company, Park Ridge Proceeds of sale of trustee's                                                       $26,450.58                               $26,450.58
                                   1300 Higgins Road, Suite 101             right, title and interest in real
                                   Park Ridge, IL 60068                     estate
                                                                               Gross Receipts                             $120,168.75

                                                                               City/Town Taxes 07/01/16 to                 ($1,335.89)    2500-000
                                                                               12/30/16
                                                                               County Taxes 07/01/16 to                     ($248.88)     2500-000
                                                                               12/30/16
                                   First American Title Company                Owner's Policy                              ($1,600.00)    2500-000

                                   First American Title Company                State of IL Owner's Policy Fee                  ($3.00)    2500-000

                                   First American Title Company                Settlement/Closing Fees                      ($600.00)     2500-000

                                   Cook County Collector                       County Property Taxes                       ($1,335.90)    2500-000

                                   First American Title Company                Commitment Update Search                     ($125.00)     2500-000

                                   First American Title Company                Service/Handling Wire Transfer                 ($40.00)    2500-000
                                                                               Fee
                                   First American Title Company                Tax Payment Service Fee                        ($50.00)    2500-000

                                   Coldwell Banker                             Real Estate Commission                      ($3,295.00)    3510-000

                                   BHHS Koenig Rubloff                         Real Estate Commission                      ($2,705.00)    3510-000

                                   Cook County Recorder of Deeds               State Transfer Tax                           ($120.00)     2500-000

                                   Cook County Recorder of Deeds               County Transfer Tax                            ($60.00)    2500-000

                                   Wells Fargo                                 Mortgage Payoff good thru                  ($65,419.50)    2500-000
                                                                               02/06/17
                                   Sheffield Manor Condominium                 Association Dues                            ($1,050.00)    2500-000
                                   Association


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                                                                                                                                                                                                    Page:           2
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                                                                       ESTATE CASHDocument
                                                                                   RECEIPTS AND Page 6 of 12 RECORD
                                                                                                DISBURSEMENTS
           Case No: 16-03717                                                                                                Trustee Name: STEVEN R. RADTKE                                           Exhibit B
      Case Name: Myee D Bennett                                                                                               Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6313
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX5189                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 03/15/2017                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction                  Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
                                   Sheffield Manor Condominium               February Assessment                        ($189.00)     2500-000
                                   Association

                                   Sheffield Manor Condominium               Replacement Coupon Book                      ($50.00)    2500-000
                                   Association

                                   American Property Managment of Illinois   PAL Closing Fee                              ($50.00)    2500-000

                                   Myee D. Bennett                           Payment in Full of Homestead             ($15,000.00)    8100-002
                                                                             Exemption
                                   DiMonte & Lizak LLC                       Reimbursement for HOA Fee                  ($230.00)     2500-000

                                   Alana Karras                              Reimbursement for                          ($120.00)     2500-000
                                                                             Schaumburg Transfer Stamp
                                   Alana Karras                              Reimbursement of Water Bill                  ($41.00)    2500-000

                                   First American Title Company              Closing Protection Coverage-                 ($50.00)    2500-000
                                                                             Seller
                        1                                                    510 Palace Ct.                           $120,168.75     1110-000
                                                                             Schaumburg Il 60194-0000
                                                                             Cook


                                                                                                             COLUMN TOTALS                                  $26,450.58                 $0.00
                                                                                                                   Less: Bank Transfers/CD's                      $0.00                $0.00
                                                                                                             Subtotal                                       $26,450.58                 $0.00
                                                                                                                   Less: Payments to Debtors                      $0.00                $0.00
                                                                                                             Net                                            $26,450.58                 $0.00




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                                                                                                                                                            Page:     3
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                                                                                                                                                             Exhibit B
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET             ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX6313 - Checking                                         $26,450.58                   $0.00            $26,450.58
                                                                                                          $26,450.58                   $0.00            $26,450.58

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                            Total Allocation Receipts:                 $93,718.17
                                            Total Net Deposits:                        $26,450.58
                                            Total Gross Receipts:                     $120,168.75




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                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 16-03717                                                                                                      Date: March 15, 2017
Debtor Name: Myee D Bennett
Claims Bar Date: 7/29/2016


Code #     Creditor Name And Address           Claim Class       Notes                        Scheduled             Claimed           Allowed
           STEVEN R. RADTKE                    Administrative                                     $0.00            $8,508.44         $8,508.44
100        CHILL, CHILL & RADTKE, P.C.
2100       79 WEST MONROE STREET
           SUITE 1305
           CHICAGO, IL 60603

           ,
           STEVEN R. RADTKE                    Administrative                                     $0.00               $22.76            $22.76
100        CHILL, CHILL & RADTKE, P.C.
2200       79 WEST MONROE STREET
           SUITE 1305
           CHICAGO, IL 60603

           ,
           DiMonte & Lizak, LLC                Administrative                                     $0.00           $11,950.00        $11,950.00
100        216 West Higgins Road
3210       Park Ridge, IL 60068




           DiMonte & Lizak, LLC                Administrative                                     $0.00              $221.00           $221.00
100        216 West Higgins Road
3220       Park Ridge, IL 60068




           Popowcer Katten Ltd.                Administrative                                     $0.00              $969.00           $969.00
100        35 East Wacker Drive, Suite 1550
3410       Chicago, IL 60601-2124




1          American Infosource Lp As Agent     Unsecured                                      $1,169.00            $1,650.95         $1,650.95
300        For
7100       Td Bank, Usa
           Po Box 248866
           Oklahoma City, Ok 73124-8866

2          Quantum3 Group Llc As Agent For     Unsecured                                          $0.00              $657.91           $657.91
300        Comenity Bank
7100       Po Box 788
           Kirkland, Wa 98083-0788


3          The Illinois Department Of          Unsecured                                      $6,762.00            $6,762.00         $6,762.00
300        Emplyment Security
7100       The Illinois Attorney General''s
           Office
           33 S. State St. Ste. 992
           Chicago, Il 60490




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                                                                           Exhibit C
                                                                 ANALYSIS OF CLAIMS REGISTER
Case Number: 16-03717                                                                                                         Date: March 15, 2017
Debtor Name: Myee D Bennett
Claims Bar Date: 7/29/2016


Code #     Creditor Name And Address             Claim Class       Notes                        Scheduled              Claimed            Allowed
4          Capital One Bank (Usa), N.A.          Unsecured                                          $0.00             $5,411.06          $5,411.06
300        Po Box 71083
7100       Charlotte, Nc 28272-1083




5          Midland Funding, Llc                  Unsecured                                           $0.00            $3,076.78          $3,076.78
300        P.O. Box 2011
7100       Warren, Mi 48090




6          Pyod, Llc Its Successors And          Unsecured                                           $0.00              $360.68           $360.68
300        Assigns As Assignee
7100       Of Citibank, N.A.
           Resurgent Capital Services
           Po Box 19008
           Greenville, Sc 29602
7          Pyod, Llc Its Successors And          Unsecured                                           $0.00              $374.90           $374.90
300        Assigns As Assignee
7100       Of Citibank, N.A.
           Resurgent Capital Services
           Po Box 19008
           Greenville, Sc 29602
8          Us Dept Of Education                  Unsecured                                      $48,582.00           $60,607.10         $60,607.10
300        Claims Filing Unit
7100       Po Box 8973
           Madison, Wi 53708-8973


9          Capital One Na                        Unsecured                                           $0.00            $1,048.81          $1,048.81
300        C/O Becket And Lee Llp
7100       Po Box 3001
           Malvern Pa 19355-0701


10         Portfolio Recovery Associates, Llc    Unsecured                                           $0.00              $846.90           $846.90
300        Successor To Synchrony Bank (H
7100       H Gregg)
           Pob 41067
           Norfolk, Va 23541

11         Portfolio Recovery Associates, Llc    Unsecured                                           $0.00              $695.04           $695.04
300        Successor To Synchrony Bank
7100       (Ashley Homestore)
           Pob 41067
           Norfolk, Va 23541

           Case Totals                                                                          $56,513.00          $103,163.33        $103,163.33
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 16-03717
     Case Name: Myee D Bennett
     Trustee Name: STEVEN R. RADTKE
                         Balance on hand                                              $               26,450.58

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: STEVEN R. RADTKE                  $         8,508.44 $                0.00 $         8,508.44
      Trustee Expenses: STEVEN R. RADTKE              $               22.76 $             0.00 $             22.76
      Attorney for Trustee Fees: DiMonte &
      Lizak, LLC                                      $        11,950.00 $                0.00 $      11,950.00
      Attorney for Trustee Expenses: DiMonte &
      Lizak, LLC                               $                  221.00 $                0.00 $          221.00
      Accountant for Trustee Fees: Popowcer
      Katten Ltd.                                     $           969.00 $                0.00 $          969.00
                 Total to be paid for chapter 7 administrative expenses               $               21,671.20
                 Remaining Balance                                                    $                  4,779.38


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.




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                 Allowed priority claims are:


                                                           NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 81,492.13 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 5.9 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                     Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                   of Claim             to Date          Payment
                          American Infosource Lp As
     1                    Agent For                 $        1,650.95 $              0.00 $            96.83
                          Quantum3 Group Llc As
     2                    Agent For                  $         657.91 $              0.00 $            38.59
                          The Illinois Department Of
     3                    Emplyment Security         $       6,762.00 $              0.00 $           396.58
                          Capital One Bank (Usa),
     4                    N.A.                       $       5,411.06 $              0.00 $           317.35
     5                    Midland Funding, Llc       $       3,076.78 $              0.00 $           180.45
                          Pyod, Llc Its Successors
     6                    And Assigns As Assignee    $         360.68 $              0.00 $            21.15
                          Pyod, Llc Its Successors
     7                    And Assigns As Assignee    $         374.90 $              0.00 $            21.99
     8                    Us Dept Of Education       $      60,607.10 $              0.00 $         3,554.51
     9                    Capital One Na             $       1,048.81 $              0.00 $            61.51
                          Portfolio Recovery
     10                   Associates, Llc            $         846.90 $              0.00 $            49.67
                          Portfolio Recovery
     11                   Associates, Llc            $         695.04 $              0.00 $            40.75




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                 Total to be paid to timely general unsecured creditors               $                4,779.38
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




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